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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   BECKLEY DIVISION


ROGER COUSINS,

                             Movant,

v.                                                 CIVIL ACTION NO. 5:12-cv-08697
                                                   (Criminal No. 5:11-cr-00090-23)

UNITED STATES OF AMERICA,

                             Respondent.



                         MEMORANDUM OPINION AND ORDER


       On December 10, 2012, the Movant filed a Motion Under 28 U.S.C. ' 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody (Document 749). By Standing Order

(Document 751) entered on that date, the matter was referred to the Honorable R. Clarke

VanDervort, United States Magistrate Judge, for submission to this Court of proposed findings of

fact and recommendation for disposition, pursuant to 28 U.S.C. ' 636.

       On December 3, 2015, the Magistrate Judge submitted a Proposed Findings and

Recommendation (Document 818) wherein it is recommended that this Court deny the Movant=s '

2555 motion. Objections to the Magistrate Judge=s Proposed Findings and Recommendation

were due by December 21, 2015, and none were filed by either party.

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation

to which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). Failure to file
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timely objections constitutes a waiver of de novo review and the Movant=s right to appeal this

Court=s Order. 28 U.S.C. ' 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir.

1989); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984).

       Accordingly, the Court ADOPTS and incorporates herein the findings and

recommendation of the Magistrate Judge as contained in the Proposed Findings and

Recommendation, and ORDERS that the Movant’s Motion Under 28 U.S.C. ' 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody (Document 749) be DENIED and that

this case be REMOVED from the Court’s docket.

       The Court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

VanDervort, counsel of record, and any unrepresented party.

                                            ENTER:         January 4, 2016




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